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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT


Marcus Bagwell and Scott Levy,           :
individually and on behalf of all others :
similarly situated,                      :   Civil Action No. 3:16-cv-01350-JCH
                                         :
                    Plaintiffs,          :
                                         :
      vs.                                :   December 29, 2017
                                         :
World Wrestling Entertainment, Inc., :
                                         :
                    Defendant.           :


                      PLAINTIFFS’ OBJECTION TO
                  DEFENDANT’S VERIFIED BILL OF COSTS

      Pursuant to District of Connecticut Local Rule of Civil Procedure 54(b),

Plaintiffs Marcus Bagwell and Scott Levy (“Plaintiffs”) respectfully submit this

Objection to Defendant World Wrestling Entertainment, Inc.’s (“WWE”) Verified

Bill of Costs.

                                INTRODUCTION

      WWE is not a “prevailing party” under Federal Rule of Civil Procedure

54(d). United States Supreme Court precedence makes clear that a party is

considered a “prevailing party” only if there was a “judicially sanctioned”

change in the legal relationship of the parties that bears the “necessary judicial




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imprimatur.” Without a court order, this matter concluded when the parties

submitted a joint stipulation of dismissal under Rule 41(a)(1)(A)(ii), which

immediately became effective and dismissed all claims upon filing. Because

neither a court order nor judicial oversight was required to effectuate the

parties’ joint stipulation of dismissal, no judicially sanctioned change of

relationship occurred. The Court’s subsequent Order entering the stipulation

was merely administrative in nature. Accordingly, WWE is not a prevailing

party under Rule 54(d), and the Clerk should deny its request for costs.

      Alternatively, even if the Clerk were to find that WWE is the prevailing

party under Rule 54(d), certain costs WWE seeks to recover should not be

allowed. First, WWE’s Bill of Costs does not provide sufficient justification

explaining why the video recordings of Plaintiffs’ depositions were necessarily

obtained for use in the case. WWE already has access to and seeks to be

reimbursed for the cost of written deposition transcripts. Simply obtaining the

video recordings so that the Court and jury may have access to Plaintiffs’ facial

expressions and gestures is insufficient to satisfy the burden of showing that

the expenses were necessarily obtained for use in the case.

      WWE also fails to explain why it was necessary to obtain transcripts of




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five court hearings. WWE claims that these transcripts were used in connection

with discovery motions and preparing joint status reports, but that is not

enough to be recoverable. The Court entered detailed Orders and docket entries

after each hearing, which provided all of the pertinent information. WWE also

had several attorneys attend each court hearing who presumably took notes

reflecting the important issues raised by the parties and the Court. The court

hearing transcripts were obtained for the convenience of counsel, but were not

necessary as required by Local Rule 54 or 28 U.S.C. § 1920.

      For these reasons, the Court should deny WWE’s Bill of Costs in its

entirety, or alternatively, deny its request to recover the costs of video

recordings of Plaintiffs’ depositions and transcripts of court hearings.

                                 BACKGROUND

      In August 2016, Bagwell filed a class action complaint against WWE

asserting various claims for the failure to pay royalties for revenue derived from

the WWE Network. (Dkt. No. 1.) In November 2016, Plaintiffs filed an amended

complaint adding Levy as a class representative. (Dkt. No. 35.) WWE moved to

dismiss Plaintiffs’ amended complaint (Dkt. No. 45), and in May 2017, the

Court granted that motion in part and denied in substantial part (Dkt. No. 48).




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      Plaintiffs filed their second amended complaint shortly after the Court’s

ruling on WWE’s motion to dismiss (Dkt. No. 51) and a third amended

complaint in June 2017 (Dkt. No. 65). Pursuant to the third amended

complaint, Bagwell sought to represent a class of wrestlers who had entered

into contracts with WCW, Inc. while Levy sought to represent a class of

wrestlers who had entered into contracts with Titan Sports, Inc. or WWE. (Dkt.

No. 65 at 31.) Plaintiffs’ counsel determined that Plaintiff Bagwell’s WCW, Inc.

subclass was not viable under Rule 23 based on the information obtained

during discovery. In September 2017, Plaintiffs filed a notice withdrawing class

claims on behalf of Bagwell. (Dkt. No. 117.)

      After WWE’s deposition of Levy, WWE filed an amended answer and

affirmative defenses that asserted a new counterclaim against Levy for breach

of a non-disparagement provision contained in his early contract release from

WWE. (Dkt. No. 135.) WWE’s counterclaim alleged Levy made disparaging

statements regarding Vince McMahon, the CEO and Chairman of WWE, and

WWE sought compensatory damages, declaratory relief, and costs. (Id. at 31,

36.) Levy decided not to continue as a class representative. Simultaneously, the




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parties began negotiating a stipulation of dismissal of Bagwell’s individual

claims and a global resolution of the entire proceeding.

      On December 7, the parties filed a joint stipulation of dismissal pursuant

to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). (Dkt. No. 164.) The parties’

joint stipulation provided Plaintiffs’ claims would be dismissed with prejudice

and WWE’s counterclaim against Levy would be dismissed without prejudice.

(Id.) Notably, the dismissal of WWE’s counterclaim without prejudice was

subject to an express condition: WWE is able to assert such counterclaim only

if Levy ever brings a claim against WWE in the future that alleges a breach of

contract. (Id.) The next day, this Court entered an Order confirming the parties’

joint stipulation of dismissal. (Dkt. No. 165).

                                   ARGUMENT

      This action ended with the parties filing a stipulation of dismissal.

Federal Rule of Civil Procedure 54(d) states “[u]nless a federal statute, these

rules, or a court order provides otherwise, costs – other than attorneys’ fees –

should be allowed to the prevailing party.” FED. R. CIV. P. 54(b). A party is

considered a “prevailing party” if there was a “judicially sanctioned” change in

the legal relationship of the parties that bears the “necessary judicial




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imprimatur.” Buckhannon Board & Care Home v. West Virginia Dep’t of Health

& Human Res., 532 U.S. 598, 605 (2001). The Federal Rules permit a

stipulation of dismissal “[w]ithout Court Order,” and no judicially sanctioned

change of relationship occurred. WWE is not a prevailing party under Rule

54(d). Further, WWE’s Bill of Costs also fails to demonstrate the necessity of

the items for which it seeks reimbursement and how those things were not

merely obtained for the convenience of counsel. WWE’s request for costs should

be denied.

I.    WWE is not a Prevailing Party Under Rule 54(d).

      WWE is not a prevailing party under Federal Rule of Civil Procedure 54(d)

because Plaintiffs’ voluntary dismissal does not carry the necessary “judicial

imprimatur” or “judicially sanctioned” relief. To be considered a prevailing

party, there must be a “court-ordered . . . material alteration of the legal

relationship of the parties,” and that alteration must be “judicially sanctioned”;

in other words, a prevailing party is one who “receive[s] at least some relief on

the merits of his claim” or a “judicial imprimatur on the change.” Buckhannon

Board and Care Home, Inc. v. West Virginia Department of Health and Human

Resources, 532 U.S. at 604-05 (emphasis added). A prevailing party is “one who




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has favorably effected a material alteration of the legal relationship of the

parties by court order.” Garcia v. Yonkers Sch. Dist., 561 F.3d 97, 102 (2d Cir.

2009) (internal quotation marks and citations omitted).1

      Federal Rule of Civil Procedure 41(a)(1) provides two methods to

voluntarily dismiss an action “without a court order”: (i) by submitting a notice

of voluntary dismissal before the opposing party serves either an answer or a

motion for summary judgment; or (ii) by filing a stipulation of dismissal signed

by the parties. FED. R. CIV. P. 41(a)(1)(A)(i) and (ii). A Rule 41(a)(1) stipulation of

dismissal is effective immediately upon filing, and no subsequent court order is

required. Hester Indus., Inc. v. Tyson Foods, Inc., 160 F.3d 911, 916 (2d Cir.

1998); see also 9 Wright & Miller, Federal Practice & Procedure § 2363 (3d ed.

2008). Because a Rule 41(a)(1) dismissal does not involve court action nor

requires a court order to become effective, a defendant who obtains relief

through such a dismissal—whether with or without prejudice—is not a

prevailing party. Smalley v. Account Servs. Collections, Inc., No. 15-cv-1488,

2017 WL 1092678, at *2 (W.D. Pa. Mar. 23 2017).

1Buckhannon interpreted the fee-shifting provisions of the Americans with Disabilities Act,
but the Second Circuit recognizes Buckhannon’s “prevailing party” standard to determine
whether costs are appropriate under Rule 54(d). Dattner v. Conagra Foods, Inc., 458 F.3d
98, 101 (2d Cir. 2006).




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       Once the parties’ stipulation was filed, the case immediately came to an

end. See Reagan v. Fox Navigation, LLC, 302-cv-627-CFD, 2005 WL 2001177,

at *1-2 (D. Conn. Aug. 17, 2005). “The change in the parties’ relationship was

voluntary and occurred before the dismissal order was entered.” Gibson v.

Walgreen Co., No. 07-cv-1053-Orl-29KRS, 2008 WL 2607775, at *3 (M.D. Fla.

July 1, 2008). The “so-ordered” stamp on a stipulation of voluntary dismissal

does not carry a “sufficient judicial imprimatur” to warrant prevailing party

status because it does not result in the court’s alteration of the legal

relationship of the parties. Torres v. Walker, 356 F.3d 238, 244 (2d Cir. 2003);

Choudhary v. Barnhart, No. 04-cv-0142 (RJH/AJP), 2005 WL 2592048, at *2

(S.D.N.Y. Oct. 11, 2005).2 A court’s order entering a stipulation of dismissal is

“administrative in nature,” (Smalley, 2017 WL 1092678, at *3), is “of no


2 See also Hopkins Mfg. Corp. v. Cequent Performance Prod., Inc., No. 14-2208-JAR, 2016
WL 7188281, at *7 (D. Kan. Dec. 12, 2016) (“dismissal under Rule 41(a)(1)(A)(ii) [is]
insufficient to confer prevailing party status under the Supreme Court’s standards
announced in Buckhannon”); Malibu Media LLC, v. Baizid, 152 F. Supp. 3d 496, 502 (E.D. Va.
2015) (“Because a stipulation of dismissal does not result in judgment or judicially sanctioned relief,
on which Buckhannon premises prevailing party status, it follows that a defendant dismissed
pursuant to a stipulation of dismissal is not a prevailing party.”); F4W v. Tracstar Sys., Inc., No.
12-cv-1539-Orl-28KRS, 2015 WL 12838856, at *4 (M.D. Fla. Apr. 3, 2015) (where parties
dismissed claims by stipulation with prejudice under Rule 41(a)(1)(1)(A)(ii) and “no Court
approval was needed or given,” court held there was no court-ordered alteration in the legal
relationship in the parties to confer prevailing party status and denied request for fees),
adopted 2015 WL 12840464 (M.D. Fla. June 18, 2015).




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consequence, superfluous, and do[es] not constitute a judgment by the district

court,” (Manhattan Constr. Co. v. Phillips, No. 09-cv-1917-WSD, 2012 WL

13001901, at *3 (N.D. Ga. Dec. 12, 2012)), and does not carry a sufficient

imprimatur to confer prevailing party status. Hugee v. Kismo Apartments, LLC,

852 F. Supp. 2d 281, 293 (S.D.N.Y. 2012).

       WWE ignores the overwhelming weight of authority denying costs in

cases dismissed pursuant to Rule 41(a)(1)(A)(ii)3 and invites the Court to

instead apply the standard for cases dismissed under Rule 41(a)(2). WWE

incorrectly relies on cases that involved voluntary dismissals by court order

under Rule 41(a)(2), not Rule 41(a)(1). See, e.g., Bill of Costs, Dkt. No. 167 at 7

(citing Commercial Recovery Corp. v. Bilateral Credit Corp., LLC, No. 12-cv-

5287(CM), 2013 WL 8350184, at *5 (S.D.N.Y. Dec. 19, 2013) (dismissal with

prejudice under Rule 41(a)(2)); Sunrise v. GTE Serv. Corp., 202 F.R.D. 79, 80-81


3 But see BWP Media USA v. Gossip Cop Media, LLC, No. 13-cv-7574 (KPF), 2015 WL
321877, at *4 (S.D.N.Y. Jan. 26, 2015) (concluding that court’s subsequent order
implementing stipulation “effected a material change in the legal relationship” of the
parties). Another federal court, however, has criticized the BWP Media decision as
“unpersuasive” and in the minority. See Malibu Media, 152 F. Supp. 3d at 501 (observing
that while “BWP Media concludes that a judicial order on a stipulated dismissal constitutes
judicial relief[,]” the “significant weight of authority holds than order on a stipulation of
dismissal has no independent legal effect because Rule 41(a)(1)(A) operates without a court
order”) (internal quotations marks omitted).




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(D. Conn. 2008) (dismissal with prejudice under Rule 41(a)(2)). “Rule 41(a)(2)

operates in a way that is significantly different from Rule 41(a)(1)(ii),” and “the

court plays a significant role in resolving a case that is dismissed under Rule

41(a)(2).” Bryant v. MV. Transp., 231 F.R.D. 480, 482 (E.D. Va. 2005) (citations

omitted). A dismissal under Rule 41(a)(2) is not valid absent a court order. See

FED. R. CIV. P. 41(a)(2). Consequently, the cases cited above by WWE for the

proposition that a Rule 41(a) voluntary dismissal with prejudice satisfies the

prevailing party standard are inapposite.

      This action ended immediately when the parties’ filed a joint stipulation

of dismissal pursuant to Rule 41(a)(1)(A)(ii) – i.e., it ended without a court

order. (Dkt. No. 164.) The joint stipulation of dismissal was self-executing and

did not require the Court’s approval or any other judicial action, and the

Court’s Order entering the parties’ stipulation (Dkt. No. 165) did not alter the

legal relationship of the parties. The change in the parties’ status was

completely voluntary and occurred before the Court entered the dismissal

order. The relief obtained by WWE in the dismissal did not result from “court

ordered” action. Therefore, WWE has failed to establish that it was the

prevailing party, and its request for costs should be denied.




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II.   Even if WWE is Considered to be a Prevailing Party Under Rule 54(d),
      it is not Entitled to Some of the Taxable Costs Requested.

      District of Connecticut Local Rule of Civil Procedure 54(c)2 provides for

reimbursement of the cost of an original and one copy of any deposition

transcript (including electronic text, audio, or audiovisual transcript) or pre-

trial proceeding transcript “if they are necessarily obtained for the preparation

of the case and not for the convenience of counsel.” D. CONN. L. CIV. R.

54(c)2(ii); see also 28 U.S.C. § 1920(2). Whether transcripts were “necessarily

obtained” for use in a case is a matter within the discretion of the district

court. Oscar Gruss and Son v. Lumbermens Mut. Cas. Co., 422. F.2d 1278,

1285 (2d Cir. 1970) (citation omitted).

      A.     WWE has not Sufficiently Demonstrated that Video Recordings
             of Depositions Were Necessarily Obtained for Use in this Case.

      WWE seeks to recover the costs of written deposition transcripts and the

costs of video recordings of Plaintiffs’ depositions. (Bill of Costs at 8-9.) A party

seeking costs for the expenses of both video and printed transcripts of a

deposition must show those costs were reasonably necessary to the

preparation of case to be recoverable. Christie v. Gen. Elec. Capital Servs., Inc.,

No. 05-cv-0379 (TLM), 2010 WL 3081500, at *1 (D. Conn. Aug. 5, 2010). The




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sole rationale WWE provides as the basis for requesting costs for the video

transcripts – to use in Court filings or for impeachment purposes as to allow

the Court and jury to view Plaintiffs’ “demeanor, facial expressions, and

gestures” – has been rejected by other federal courts as insufficient to recover

the cost of video recordings. Halasa v. ITT Educ. Servs., Inc., No. 10-cv-437-

WTL-MJD, 2012 WL 639520, at *3 (S.D. Ind. Feb. 27, 2012); Loomis v. Exelon

Corp., No. 06-cv-4900, 2010 WL 1005037, at *2 (N.D. Ill. Mar. 11, 2010).4

       Therefore, even if WWE is deemed to be the prevailing party, it should

not be permitted to recover the costs associated with the videotapes of

Plaintiffs’ depositions because it has failed to meet its burden. WWE failed to

offer any sufficient reason why the video recordings were necessary in this case,

and it has not shown any risk that either Plaintiff would be unavailable to

testify at trial so that the videotaped recordings would be necessary. WWE has

already requested reimbursement for the costs of an original and copy of the

written deposition transcripts. (Bill of Costs at 7-9.) The written deposition

transcripts would be more than sufficient to use in submissions to the Court

4See also, McCoy v. Ltd. Driving Sch., No. 15-cv-00639 (MCA/LAM), 2017 WL 3610552, at
*6 (D.N.M. Feb. 21, 2017); Citigroup Global Mkts., Inc. v. Abbar, 63 F. Supp. 3d 360, 362
(S.D.N.Y. 2014) (affirming disallowance of costs of video copies of deposition testimony as
duplicative); Christie, 2010 WL 3081500, at *1-2.




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and/or as potential impeachment material at trial. (Id. at 8.) Allowing WWE to

recover the costs for video recordings as well as the paper transcripts would be

duplicative.

      B.       WWE has not Sufficiently Demonstrated that Transcripts of
               Court Hearings Were Necessarily Obtained for Use in the Case.

      WWE contends that transcripts of five court hearings were necessarily

obtained for the case because they “inform[ed] WWE’s positions on discovery

and the preparation of various joint status reports and discovery motions.” (Id.

at 10.) Local Rule 54(c)2(i) states that “[t]he cost of the original and one copy of

. . . transcripts of pre-trial proceedings . . . [is] taxable if authorized in advance

by the Court or if necessarily obtained for use in the case.” D. CONN. L. CIV. R.

54(c)2(i). WWE provides no explanation as to why the Court’s detailed Orders

and associated docket entries along with counsel’s notes were insufficient to

provide the required information. Where a party seeking costs neglects to

provide sufficient reasoning demonstrating why transcripts of court hearings

were necessarily obtained for use in the case, courts have denied requests to

recover those costs. See Advanced Video Techs., LLC v. HTC Corp., No. 11-cv-

6604 (CM)(RLE), 2016 WL 1253899, at *3 (S.D.N.Y. Feb. 23, 2016) (denial of




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request for transcript costs where party failed to identify any portion of

transcript that was used).

      The chart below shows that for each court hearing in which WWE

ordered a transcript at significant cost, the Court entered Orders and docket

entries that provided detailed information regarding the matters addressed,

briefing schedules, or case deadlines.

   Date of Hearing              Associated Docket Entry or Court Order

  November 4, 2016       Dkt. No. 37: granting motion to amend and setting
                         briefing schedule on motion to dismiss
    July 27, 2017        Dkt. No. 84: six-page Memorandum of Conference
                         and Scheduling Order extensively addressing
                         discovery issues and setting case deadlines
   August 11, 2017       Dkt. No. 96: Order summarizing status conference in
                         detail and setting deadline to submit joint status
                         report on discovery issues
                         Dkt. No. 97: Order setting deadlines to file motion to
                         compel and submit joint status report
   August 30, 2017       Dkt. No. 110: Memorandum of Conference
                         summarizing status conference in detail and
                         ordering the filing of status report on transfer of
                         Plaintiffs’ client files from local counsel
   October 6, 2017       Dkt. No. 119: Order setting briefing schedule on
                         motion to compel

      In addition to the Court’s Orders and docket entries, WWE had several

attorneys attend each court hearing. (See, e.g., Dkt. No. 110 (August 30, 2017




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memorandum of status conference reflecting attendance by three WWE lawyers

from two different law firms).) Certainly, counsel for WWE took copious notes

memorializing the important highlights of each court hearing. The Court’s

detailed Orders and docket entries, along with counsel’s notes, were more than

adequate to “inform” the parties’ positions on discovery-related issues.

Consequently, WWE has not satisfied its burden of showing that the court

hearing transcripts were necessarily obtained, and thus, should not be

permitted to recover those costs.

                                    CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully request that the Court

deny WWE’s Verified Bill of Costs in its entirety. Alternatively, in the event the

Court finds that WWE is a prevailing party, WWE should not be permitted to

recover the costs of video recordings of Plaintiffs’ depositions or transcripts of

court hearings because it has not sufficiently shown that these materials were

necessarily obtained for use in the case as required by Local Rule 54(c)2 and

28 U.S.C. § 1920(2).




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Dated: December 29, 2017          Respectfully submitted,


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                           CERTIFICATE OF SERVICE

      This is to certify that on this 29th day of December, 2017, a copy of the
foregoing was filed electronically and served by mail on anyone unable to
accept electronic filing. Notice of this filing will be sent by e-mail to all parties
by operation of the Court’s electronic filing system or by mail to anyone unable
to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.



_/s/ William H. Clendenen, Jr.______________
CLENDENEN & SHEA, LLC
